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                             UNITE D S TATES DIS TR ICT COURT
                                DISTR ICT OF MINNES OTA




UNITE D S TATES OF AME RICA,

                           P la in t iff,

                  vs .                                                       ORDER
                                                          C r im in a l File No . 0 7 -2 0 1 (MJ D / F LN)

J UAN LUIS F AR IAS -ME ND OZA (2 ),

                           D e fe n d a n t .




J e ffr e y M . B r y a n a n d M ic h a e l L. C h e e ve r , As s is t a n t U n it e d S t a t e s
At t o r n e ys , C o u n s e l fo r Pla in t iff.

R ob e r t M . P a u le , R ob e r t M . P a u le , P A, C ou n s e l fo r D e fe n d a n t .




         Th e a b o ve - e n t it le d m a t t e r c om e s b e fo r e t h e C ou r t u p o n t h e R ep o r t a n d

R e c o m m en d a tion (“R &R ”) of t h e U n it e d S t a t e s M a gis t r a t e J u d ge F r a n k lin L.

No e l d a t e d Au gu s t 1 5 , 2 0 0 7 . D efe n d a n t F a r ia s - M en d o za file d o b je c t io n s t o

t h e R &R on Au gu s t 2 9 , 2 0 0 7 .

         P u r s u a n t t o s t a t u t e , t h e C ou r t h a s c o n d u c t e d a d e n ovo r e vie w of t h e

r ec o r d . 2 8 U .S . C . § 6 3 6 (b )(1 ); Lo ca l R u le 7 2 . 1 (c ). B a s e d o n t h a t r e vie w , t h e

C o u r t a d op ts th e R &R d a te d Au gu s t 1 5 , 2 0 0 7 .

Ac c o r d in g ly , b a s e d u p o n t h e file s , r e c o r d s , a n d p r o c e e d in g s h e r e in ,
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IT IS H E R E B Y O R DE R E D TH AT:

        1.       D e fe n d a n t F a r ia s - M en d o za ’s m o t io n t o d is m is s C o u n t 6 o f t h e

In d ic t m e n t [D oc k et N o. 2 8 ] is D E N IE D .

        2.       Defendant Farias-Mendoza’s motion to suppress physical evidence [Docket

No. 37] is DENIED.

        3.       Defendant Farias-Mendoza’s motion to suppress evidence obtained as a result

of search and seizure [Docket No. 38] is DENIED.



LET J UD GME NT B E E NT E R E D ACCO R D ING LY.

D a t e d : O ct ob e r 4 , 2 0 0 7

                                                  B Y TH E C O U R T:

                                                  s / Mich a el J . Da vis
                                                  Th e H on or a b le M ic h a e l J . D a vis
                                                  U n it e d S t a t e s D is t r i ct C o u r t J u d g e




2
